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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X
Emily Capkanis,


                 Plaintiff,                                     20 Civ. 7144 (CM)

        -against-

                                                                NOTICE
Prodigy Network LLC,
                  Defendant.
----------------------------------------------------X

Please take notice that it is not clear from the papers filed in support of the motion for a default
judgment whether the moving party has complied with this court’s individual rules of practice,
V.E.1, which requires proof of service of the motion and accompanying notice in the same manner
as the summons and complaint. Movant is advised to make sure that compliance with the court’s
rule is clearly indicated on the docket or the motion will not be granted.

Dated: January 11, 2021
       New York, New York




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                                                       Colleen McMahon, Chief U.S.D.J
